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 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-22-01392-PHX-JJT
10                   Plaintiff,                      ORDER GRANTING MOTION TO
11   v.                                              CONTINUE TRIAL AND PRETRIAL
                                                     MOTIONS
12   Kingsley Sebastian Ibhadore,
13                   Defendant.
14
15          Upon motion of Defendant with no objection from the Government, and good cause
16   appearing,
17          IT IS ORDERED granting Defendant’s Motion to Continue Trial (Doc. 14), for
18   the reasons stated in Defendant's motion, including that defense counsel needs additional

19   time to prepare for trial.

20          This Court specifically finds that the ends of justice served by granting a

21   continuance outweigh the best interests of the public and the defendant in a speedy trial.

22   This finding is based upon the Court's conclusion that the failure to grant such a

23   continuance would deny Defendant the reasonable time necessary for effective preparation,
     taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).
24
            IT IS FURTHER ORDERED continuing the trial from January 4, 2023 to April
25
     4, 2023 at 9:00 a.m.
26
            IT IS FURTHER ORDERED continuing the pretrial motions deadline until
27
     March 6, 2023.
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 1          IT IS FURTHER ORDERED that if any subpoenas were previously issued and
 2   served in this matter, that they remain in effect and are answerable at the new trial date and
 3   the party who served the subpoena should advise the witnesses of the trial date.
 4          IT IS FURTHER ORDERED that excludable delay under Title 18 U.S.C.
 5   §3161(h)(7)(A) and (B) will commence from January 5, 2023 to April 4, 2023.
 6          IT IS FURTHER ORDERED that the parties shall keep the Court apprised of the
 7   possibility of settlement and should settlement be reached, the parties shall notify the Court.
 8          Dated this 7th day of December, 2022.
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                          Honorable John J. Tuchi
11                        United States District Judge
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